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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

In re:

VITAL PHARMACEUTICALS, INC., et al.,1                           Case No.: 22-17842-PDR

                                                                Chapter 11
      Debtors.                                                  (Jointly Administered)
_______________________________________/

VITAL PHARMACEUTICALS, INC., et al.,

         Plaintiffs,

v.                                                              Adv. Proc. No. 23-01051-PDR

JOHN H. OWOC AND MEGAN E. OWOC,

      Defendants.
_______________________________________/

                   RESPONSE TO MOTION FOR SUMMARY JUDGMENT

         John H. Owoc aka Jack Owoc ("Mr. Owoc") and Megan E. Owoc ("Mrs. Owoc"), pursuant

to Fed. R. Civ. P. 56, respond in opposition to the Motion for Summary Judgment (the "Motion")

filed by Vital Pharmaceuticals, Inc. and its affiliated debtors in these jointly administered cases

(together, the "Debtors"). ECF No. 20. In support of their response Mr. and Mrs. Owoc (together,

the "Owocs") state:

                                  SUMMARY OF ARGUMENT

         Ownership disputes over social media accounts constitute a cutting edge area of the law.



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         The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the
Debtors' federal tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy
Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate
Investment, LLC (9394); (v) Quash Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and
(vii) Vital Pharmaceuticals International Sales, Inc. (8019).




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Few courts have addressed the issue, especially in a bankruptcy context, and there appears to be

no bright line test or other precedent binding on this Court on how to determine the ownership of

a disputed account. It is apparent, however, that an ownership inquiry must be fact intensive one,

focusing on the unique circumstances of each case. These circumstances include the persona of

the individual account holder, the historical use and content of the account, and the terms and

conditions of the social media platform that the user agreed to in creating the account.

        The Motion ignores these principles. Through it, the Debtors are attempting to shoehorn a

complex fact pattern, involving individuals who maintain public personas on social media, and

accounts with both individual and business postings, into a simplistic narrative of corporate

ownership rather than a holistic inquiry. Summary judgment is not appropriate, especially given

that the Owocs have not had an opportunity to conduct adequate discovery in the case. The Court

should deny the Motion.

                                  FACTUAL BACKGROUND

        A.      The Jack Owoc Persona.

        1.      Mr. Owoc is the founder of the Debtors, and until recently served as their Chief

Executive Officer and Chief Science Officer. J. Owoc Decl. ¶¶ 1–2.2

        2.      Throughout his life, Mr. Owoc has been an avid fitness trainer, designer and

producer of fitness supplements, weight-lifter, motivational speaker and writer.           He has

conceptualized, created and brought to market numerous energy drinks and fitness supplements.

Id. at ¶ 4–5.

        3.      As a result of these endeavors, Mr. Owoc has created a very colorful, public

persona. His individual persona, his brand, is distinct from and has personal value apart from the


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      "J. Owoc Decl." refers to the declaration of Mr. Owoc being filed contemporaneously herewith.
"M. Owoc Decl." refers to the declaration of Mrs. Owoc being filed contemporaneously herewith.

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Debtors. J. Owoc Decl. at ¶¶ 7–8; M. Owoc Decl. ¶¶ 5–7.

       4.      Due to the value of this persona, when the Owocs decided to incorporate social

media to market the Debtors' products, they deliberately created their own personal, individual

social media accounts that were segregated from the assortment of the Debtors' social media

accounts and treated differently. J. Owoc Decl. at ¶ 9; M. Owoc Decl. ¶ 8.

       B.      The Disputed Accounts.

       5.      Through the Motion, the Debtors seek summary judgment regarding the ownership

of three accounts: an Instagram and TikTok account each bearing the handle @bangenergy.ceo,

and a Twitter account bearing the handle @BangEnergyCEO (each an "Account" and together, the

"Accounts").

       6.      The Debtors hold approximately 52 corporate social media accounts, consisting of

over twenty Instagram accounts, eight TikTok accounts, five Twitter accounts and over nineteen

Facebook accounts. J. Owoc Decl. at ¶ 20. These are business accounts that are used for business

purposes. By contrast, the Accounts are personal accounts segregated from the larger assortment

of the Debtors' social media accounts, as stated in ¶ 4 supra.

       7.      The handles of the Accounts, which incorporate the term "bangenergyceo," are a

double entendre. They reference the former position of Mr. Owoc as an officer of the Debtors, but

also reference his individual persona and personality as a high-intensity, energetic leader—a Bang

Energy CEO. J. Owoc Decl. at ¶ 12; M. Owoc Decl. at ¶ 12.

       8.      Given this reference to Mr. Owoc's individual persona, the Owocs conceived of the

handles of the accounts to refer to and complement the Jack Owoc persona. J. Owoc Decl. at ¶¶

12–13. The Owocs essentially had exclusive possession, custody or control over the Accounts,

with: (a) Mrs. Owoc personally creating the Instagram and Twitter accounts, (b) the Debtors never



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requesting or having possession of the passwords of the Accounts, and (c) Mr. Owoc having full,

complete and unilateral discretion over the content posted to the Accounts. Id. at ¶¶ 11–26.

Moreover, the substantial majority of the content on the Accounts was of a personal nature, not

relating to the Debtors' businesses. Id. at ¶ 27. For example:

                     Of the 99 postings made to the Instagram account between November 17,
                      2022 and April 10, 2023, roughly 58, i.e. 59%, are clearly personal and
                      reflective of the Jack Owoc persona and not the Debtors. Id. at ¶¶ 28–29.

                     Of the 146 postings made to the TikTok account between January 1, 2022
                      and April 10, 2023, roughly 80, or 55%, are clearly personal and reflective
                      of the Jack Owoc persona and not the Debtors. Id. at ¶¶ 30–31.

                     Of the 39 postings made to the Twitter account between November 17, 2020
                      and April 10, 2023, approximately 32, i.e. 82%, are clearly personal and
                      reflective of the Jack Owoc persona and not the Debtors. Id. at ¶¶ 32–33.

       9.      The declaration of Mr. Owoc being filed contemporaneously herewith includes

samples of these personal postings, such as family pictures of the Owocs, Mr. Owoc weight

training, the birth of one of the Owocs' daughters, and Mr. Owoc playing drums. Id. at ¶¶ 27–33.

       10.     Simply put, the Accounts are property of the Owocs and not the Debtors.

       C.      The Motion.

       11.     The Debtors filed the Motion on March 31, 2023, seeking summary judgment on:

(a) a declaratory judgment count that they are entitled to control over the Accounts, and (b) a

turnover count seeking turnover of the Accounts and their passwords. See generally Mot.

       12.     It is difficult to overstate the ways in which the Motion is flawed. For example,

rather than focus on the heart of this adversary proceeding—the historical control and content of

the Accounts—the bulk of the Motion focuses on tangential issues such as the termination of the

Owocs from the Debtors. Compare Mot. ¶¶ 1–5 (five paragraphs addressing ownership of

Accounts) with ¶¶ 6–19 (thirteen paragraphs reciting procedural history of bankruptcy cases and

Owocs' termination). The Debtors' declare in a blanket, hand waving fashion, that the "vast

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majority" of posts on the Instagram account promotes their business, and that content on the

TikTok and Facebook "primarily" focuses on promoting their products, without substantiating

those claims. See DiDonato Decl. ¶¶ 6–7.3 As a final example, the declaration of the Chief

Transformation Officer of the Debtors, John DiDonato, as based not only on his personal

knowledge, but on "discussions with members of the Debtors' management, the Chief

Transformation Officer's teams [and] the Debtors' other advisors[.]" Put another way, the Owocs

have no ability to determine what parts the DiDonato declaration actually reflect the personal

knowledge of Mr. DiDonato, and what parts constitute inadmissible hearsay.

       13.     The Court should deny the Motion.

                                      LEGAL STANDARD

       "Summary judgment is rendered if the pleadings, the discovery and disclosure materials on

file, and any affidavits show there is no genuine issue as to any material fact and the movant is

entitled to judgment as a matter of law." Sosa v. Carnival Corp., 423 F.Supp.3d 1336, 1338 (S.D.

Fla. 2018) (citing Fed. R. Civ. P. 56(a) and (c)). "If there are any factual issues, summary judgment

must be denied and the case proceeds to trial." Sosa, 423 F.Supp. at 1338 (citation omitted). "Even

when the parties agree on basic facts, but disagree about the inferences that should be drawn from

those facts, summary judgment may be inappropriate." Sosa, 423 F.Supp. at 1338 (quotation

omitted). Finally, "[i]n considering a motion for summary judgment, the Court must construe all

facts and draw all reasonable inference in the light most favorable to the non-moving party." In

re Cario, 2012 WL 1122887, at *3 (Bankr. S.D. Fla., Apr. 3, 2012) (citing Allen v. Tyson Foods,

Inc., 121 F.3d 642, 646 (11th Cir. 1997)).




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       "DiDonato Decl." refers to the Declaration of John C. DiDonato filed by the Debtors at ECF No.
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                                          ARGUMENT

I.     THE ACCOUNTS ARE NOT PROPERTY OF THE ESTATES.

       The Complaint again asserts two counts against the Owocs: declaratory judgment that the

Debtors are entitled to control over the Accounts (Count I), and turnover (Count II). Each of these

counts is predicated on a finding that the Accounts constitute property of the Debtors' estates. See,

e.g., Mot. ¶¶ 28 ("To successfully move for turnover of estate property, a debtor must prove by a

preponderance of the evidence that the subject property constitutes property of the estate and that

the defendant is in possession of that property.") (quotation omitted) and 37 (arguing in declaratory

judgment context that the Accounts "are property of the Debtors' estates.").

       A.      The Debtors' Failed Effort to Establish a Bright Line Ownership Test.

       As stated supra, case law regarding disputed social media accounts, especially in a

bankruptcy context, is scarce. Unsurprisingly, the Debtors are able to cite only two cases, neither

of which is binding on this Court, in support of their ownership claims: In re CTLI, LLC, 528 B.R.

359 (Bankr. S.D. Tex. 2015), and JLM Couture, Inc. v. Gutman, 2021 WL 827749 (Bankr.

S.D.N.Y. Mar. 4, 2021), aff'd in part, vacated in part and remanded, 24 F.4th 785 (2d Cir. 2022).

Building on this slender foundation, the Debtors make the blanket statement that "[s]ocial media

accounts are property of a debtor's estate when the content of the accounts is associated with the

debtor's business and use of the accounts is clearly to generate revenues for the company." Mot.

¶ 30 (citations and quotation omitted).

       The reality is far more complicated. While not without value, both CTLI and JLM are

distinguishable from the current proceeding and do not establish a bright line test for determining

social media account ownership.

       In CTLI, the principal of a corporate debtor, CTLI, LLC dba Tactical Firearms, created a



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Facebook Page for the debtor titled "Tactical Firearms." 528 B.R. at 367. Under Facebook

procedures, the type of Page created was for "businesses, brands and organizations," and not

"individual people." Id. at 367 (footnote omitted). The posts on the Page "were expressly

business-related." Id. at 368. While the principal did post certain content to the Page referencing

himself as an individual, the court found that these 'personal' posts—which involved attendance at

a firearms exposition and political opinions concerning gun control—were ultimately subordinate

to the business interests of Tactical Firms in selling guns. See CTLI, 528 B.R. at 371 ("…this

Court finds that all of these political posts and Tweets are related to the Debtor's business and were

issued with the purpose of generating publicity for the business in order to increase gun sales and

ammunition."). Similarly, the principal created a Twitter account titled "Tactical Firearms" with

the Twitter handle @tacticalfirearm. CTLI, 528 B.R. at 372. The Debtor provided only one

example of a personal tweet on the account, which the court likewise determined to be a de facto

business post. Id. Based on these and other factors, and after considering evidence over two days

of evidentiary hearings, the court determined that the accounts were property of the debtor and not

its principal. See CTLI, 528 B.R. at 363 and 368.

       The differences between this case and CTLI are stark. In particular:

                      CTLI again involved a Facebook Page specifically designed for "businesses,
                       brands and organizations," and not "individual people." No such limitation
                       applies to the Accounts.

                      The court in CTLI found that the posts on the Facebook Page and Twitter
                       account were expressly business related, and the Debtor could not identify
                       any personal posts. By contrast, the majority of posts on the Accounts are
                       of a personal nature, and concern subjects such as the birth of Mr. Owoc's
                       daughter.

                      Nothing in CTLI suggests that the principal of the debtor had a public
                       persona and personal brand rivaling that of the Owocs.

                      The principal in CTLI argued that every social media account of the Debtors
                       was in fact his. See 528 B.R. at 363. By contrast, the Owocs acknowledge

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                       that the Debtors own approximately 52 social media accounts, but not the
                       three segregated, individual Accounts at issue.

                      Although CTLI was ultimately decided against the principal, the court made
                       this determination after two days of trial. See id. The Debtors are
                       attempting to prosecute a far weaker case via a rushed summary judgment
                       process, and without the Owocs being able to take discovery on relevant
                       topics.

       The remaining case relied on by the Debtors, JLM, is even more dissimilar than CTLI. In

JLM, the plaintiff sued a former employee who designed lines of bridalwear and related

merchandise. 2021 WL 827749, at *1. The plaintiff brought breach of contract and other claims,

and sought preliminary injunctive relief to bar the defendant inter alia from altering the content of

various social media accounts without permission. Id. The district court granted this request,

noting that the employment contract between the parties transferred to the plaintiff the exclusive

right to use various names including "'Hailey Page,' or any derivative thereof," and that social

media accounts titled "misshaleypaige" and "@misshaleypaige" were derivatives that fell within

the scope of the contract. Id. at *10. Per the court, those account handles were names to which

the defendant had granted the plaintiff exclusive rights. See JLM, 2021 WL 827749, at *10.

       Notably—and unmentioned by the Debtors—JLM was reversed in part on appeal, with the

Second Circuit noting that the district court granted the plaintiff control over the disputed social

media accounts without addressing "the somewhat more nuanced issue of ownership" of the

accounts themselves. See JLM, 24 F.4th at 798 (citation omitted). The Second Circuit added that

an analysis of the accounts for injunctive relief purposes "sounds in property, not in contract," and

there was "no way to salvage" the injunction issued by the district court under its contract-based

theories. See id. at 799. The appellate court declined to address "the correct framework for

answering who owns the [accounts] or what result that framework would dictate," but remanded

the matter for further findings. See id. at 800.


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       However, even setting aside its remand after appellate review, JLM does not resemble the

instant case. JLM is again a preliminary injunction order based on a contract that transferred the

right to use various names, including social media handles, to the plaintiff. See 2021 WL 827749,

at *10. No such contract exists here. The Owocs never singed an employee agreement. J. Owoc

Decl. ¶¶ 10 and 40(b); M. Owoc Decl. ¶¶ 9 and 31(b). Although the Debtors make much of the

fact that the Employee Handbook contains policies regarding the ownership of marketing

materials, a handbook is not a contract. "It is well established under Florida law that policy

statements contained in employment manuals do not give rise to enforceable contract rights in

Florida unless they contain specific language that expresses the parties' explicit mutual agreement

that the manual constitutes a separate employment contract." Vega v. T-Mobile USA, Inc., 564

F.3d 1256, 1273 (11th Cir. 2009) (quotation omitted) (citing cases); see Quaker Oats Co. v. Jewel,

818 So.2d 574, 580 (Fla. Fla. 5th DCA 2002) ("Florida courts will continue to adhere to the

established rule that an employee's policy manual is not a contract and it may contain all sorts of

unenforceable statements of 'policy' calculated to energize employees into a frenzy or production

and loyalty.") (Peterson, J., concurring).

       B.      Ownership of the Accounts Must be Determined through a Fact-Intensive
               Inquiry.

       Given the distinguishing features of CTLI and JLM, the Court should disregard the Debtors'

simplistic rationale that, because the Accounts contain certain business-related posts, they must

constitute property of the estate.

       The better approach is to instead engage in a fact-intensive inquiry, considering relevant

factors such as: (1) the persona, or interest of the individual account holder in the exclusive use of

his own identity, (2) how the individual account holder uses the account, (3) the account ownership

interests established in the terms and conditions of the social media website, and (4) control over


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the account. While again factually distinguishable, CTLI considered each of these factors in its

analysis of whether Facebook and Twitter accounts constituted property of the estate. See 528

B.R. at 367–72 (analyzing trial evidence). Certain of the factors have been proposed by third-

party commentators. See Alexandra L. Jamel, Mixing Business With Pleasure: Evaluating the

Blurred Line Between the Ownership of Business and Personal Social Media Accounts Under §

541(a)(1), 33 Emory Bankr. Dev. J. 561, 583 (2017) ("To determine whether a chapter 11 debtor's

social media accounts constitute property of the estate, courts should balance the following three

factors: (1) how the individual account holder uses the account; (2) the ownership interests based

on the terms and conditions; and (3) whether the social media account at issue has value."). And

the final factor, control, has long been recognized as a critical inquiry into ownership rights when

legal title is uncertain or nominally in the hands of another. See In re Trujillo, 626 B.R. 59, 74

(Bankr. S.D. Fla. 2019) ("Florida has no clear standard for determining whether someone is the

equitable or beneficial holder of assets…nominally owned by another. The cases are fact

specific…The most critical factor is usually control.") (citations omitted).4

        The application of these factors makes it clear that the Owocs, and not the Debtors, own

the Accounts. In particular:

                        The Owocs have public personas and brands separate and apart from the
                         Debtors.

                        The Owocs utilize the account for personal reasons, and make posts for
                         individual purposes.

                        The Owocs believe that any discovery obtained from Instagram, Facebook
                         and Twitter will confirm their individual ownership of the Accounts.


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         For the avoidance of doubt, the Debtors do not hold any ownership interest in the Accounts, whether
legal or equitable. The Owocs are citing Trujillo simply to demonstrate that control over an asset is often
used to determine its actual or beneficial ownership. In the event the Debtors did hold nominal or legal title
to the accounts—which the Owocs again dispute—the Owocs would retain beneficial ownership under the
analysis in Trujillo.

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                      The Owocs have historically maintained exclusive control over the
                       Accounts. Mrs. Owoc personally created the Instagram and Twitter
                       accounts. Mr. Owoc maintained exclusive control over what content was
                       posted on the Instagram account. Mr. Owoc also posted, commented
                       through and answered direct messages on his Instagram page on a daily
                       basis. Indeed, when the Debtors' Social Media Manager, Christina
                       Weronik, whose responsibilities include securing and managing all
                       corporate social media passwords, was asked for the passwords to the
                       Accounts, she did not have them.

       Summary judgment is not appropriate in light of these facts and the Court should deny the

Motion.

II.    SUMMARY JUDGMENT IS PREMATURE.

       Although summary judgment not warranted in any event, see § I supra, it is particularly

inappropriate at this point in time because it is premature.

       The Eleventh Circuit has repeatedly cautioned that trial courts "should not grant summary

judgment until the non-movant 'has had an adequate opportunity for discovery.'" Blumel v.

Mylander, 919 F.Supp. 423, 428 (M.D. Fla. 1996) (quoting Snook v. Trust Co. of Georgia Bank,

859 F.2d 865, 870 (11th Cir. 1988)) (additional citations omitted). "Indeed, the whole purpose of

discovery in a case in which a motion for summary judgment is filed is to give the opposing party

an opportunity to discover as many facts as are available and he considers essential to enable him

to determine whether he can honestly file opposing affidavits." Blumel, 919 F.Supp. at 428

(quotation omitted). "Thus, out of fairness to the non-movant, summary judgment may only be

decided upon an adequate record." Id. "Once it is convinced discovery is inadequate, the district

court should deny summary judgment." Blumel, 919 F.Supp. at 428 (citations omitted); see David

v. Kentucky Child Support Agency, 2021 WL 195202 (M.D. Fla., Jan. 20, 2021) (denying summary

judgment motion as premature when it was filed two months after service of complaint); Live Face

on Web, LLC v. Drutman, 2015 WL 5996937 (M.D. Fla., Oct. 14, 2015) (denying summary

judgment motion as premature so that both parties had an adequate opportunity to engage in
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discovery).

       Summary judgment is grossly premature in this proceeding. The Complaint was filed one

month ago, on March 14, 2023. ECF No. 1. The Owocs have not yet filed an answer or other

response to it.5 During the approximately four weeks the complaint has been pending, the Debtors

have filed an emergency motion for temporary restraining order and two emergency motions for

contempt. ECF Nos. 2, 13 and 28. These filings have resulted in the Court setting hearings on

March 16, March 28, and April 12, 2023. ECF Nos. 6, 15 and 30. The May 17, 2023 scheduling

conference scheduled in the summons is over one month away. ECF No. 4. The parties have not

exchanged Fed. R. Civ. P. 26(a)(1) initial disclosures or otherwise conferred on a scheduling order.

It is axiomatic that the Owocs have not had a meaningful opportunity to conduct discovery under

these conditions.

       Discovery is particularly important in this case given the fact-intensive inquiry the Court

must make in order to determine ownership of the Accounts. See § I supra. In particular, the

Owocs require discovery for the following reasons:

                      The Owocs have been unable to obtain documents from and depose John C.
                       DiDonato, the Chief Transformation Officer (the "CTO") of the Debtors
                       who made a declaration in support of the Motion. See ECF No. 21. This is
                       particularly important because the declaration of the CTO contains
                       inadmissible hearsay. See § III infra.

                      The Owocs have been unable to obtain all copies, editions and drafts of the
                       Employee Handbook. The Debtors attach only four pages of the Handbook
                       as an exhibit to the Motion, and Owocs have no ability to review the
                       complete, current document. See ECF No. 21-10.

                      The Owocs have been unable to obtain documents from or depose a Fed. R.
                       Civ. P. 30(b)(6) representative of the Debtors knowledgeable to testify
                       about the allegations in the Complaint.

                      The CTO declaration states that the Owocs were terminated from their

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        The original deadline to respond to the Complaint was Thursday April 13, 2023. That deadline
was extended to Tuesday April 18, 2023 by an agreed motion and order. ECF No. 37.

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                      positions with Debtors on March 9, 2023, prior to the Complaint being filed.
                      See ECF No. 21 at ¶ 8. The Owocs have had no access to the Debtors'
                      corporate documents, emails and communications since that time, and
                      require discovery from the Debtors for emails and other evidence regarding
                      ownership of the Accounts.

                     The Owocs have not been able to obtain discovery from relevant social
                      media entities, including Instagram, TikTok and Twitter, for terms and
                      conditions with account holders and any contracts relevant to the Accounts.

J. Owoc Decl. ¶¶ 37–40; M. Owoc Decl. ¶¶ 29–31.

       Given these dynamics, summary judgment is premature.

III.   PORTIONS OF THE DEBTORS' EVIDENCE ARE INADMISSIBLE AND
       MISCHARACTERIZED.

       Finally, the Court should deny the Motion because it relies on inadmissible and

mischaracterized evidence.

       A.      The DiDonato Declaration is Inadmissible.

       Rule 56 permits a party to object to material cited in a summary judgment motion if it not

"presented in a form that would be admissible in evidence." Fed. R. Civ. P. 56(c)(2). Similarly,

the rule mandates that declarations used to support a motion "must be made on personal knowledge

[and] set out facts that would be admissible in evidence[.]". Fed. R. Civ. P. 56(c)(4). Given these

provisions, it is well established that hearsay generally cannot be considered in a motion for

summary judgment. Macuba v. Deboer, 193 F.3d 1316, 1322 (11th Cir. 1999) (citation and

footnote omitted).

       Flouting this rule, the DiDonato declaration states that it is made not only upon the personal

knowledge of Mr. DiDonato, but "my discussions with members of the Debtors' management, the

Chief Transformation Officer's teams, the Debtors' other advisors, my review or relevant

documents and information concerning the Debtors' operations, financial affairs, and restructuring

initiatives, or my opinions based upon my experience and knowledge." DiDonato Decl. ¶ 3. Given


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this expansive qualification, there is no ability to discern which portions of the DiDonato

declaration derive from his personal knowledge, and which constitute laundered hearsay

statements of third parties. See Fed. R. Evid. 801 and 802 (defining and prohibiting hearsay). For

example, the DiDonato declaration states that the Instagram account was "created in April 2012

with over 1 million followers and more than 6400 posts, a vast majority of which promote the

Debtors' products and businesses." DiDonato Decl. ¶ 6. How does Mr. DiDonato purport to know

this information? Did he personally review over 6,400 posts on the Instagram account that span

over the course of a decade? Or did a third party—who has not been identified and who the Owocs

have had no opportunity to take discovery from—tell him?              The latter scenario involves

inadmissible hearsay that should not be considered under Rule 56(c).

       Absent resolution of these issues, and a real opportunity for the Owocs to take discovery,

the Court should not consider the DiDonato declaration.

       B.      The DiDonato Declaration Misconstrues Evidence.

       In addition to being inadmissible the DiDonato declaration misconstrues its own exhibits.

Specifically, Mr. DiDonato characterizes deposition testimony of the Owocs as follows: "In fact,

during depositions in an unrelated matter, Jack Owoc and Meg Liz Owoc testified that the accounts

were created and primarily operated by the Company. True and correct copies of the relevant

excerpts of these deposition transcripts are attached hereto as Exhibits C and D." DiDonato Decl.

¶ 7.

       However, the depositions attached to the DiDonato declaration say nothing of the kind.

When asked during his deposition if "[s]omebody at Vital" created the Instagram account, Mr.

Owoc answered yes. J. Owoc Dep. Tr., p. 84, l. 22–p. 85, 1.6 This testimony is accurate because



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       "J. Owoc Dep. Tr." Refers to the deposition excerpt of Mr. Owoc filed at ECF No. 21-3.

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Mrs. Owoc personally created the account. See ¶ 8. And when asked if he personally posted on

social media accounts, Mr. Owoc affirmed that he posted on the Instagram account. J. Owoc Dep.

Tr., p. 86, ll. 21–23. Nothing in the deposition excerpt supports the contention made in the

DiDonato declaration.

       Similarly, the bulk of the deposition excerpt of Mrs. Owoc concerns corporate social media

accounts that are not relevant to this adversary proceeding. See M. Owoc Dep. Tr., p. 19, l. 16–p.

22, l. 16.7 In answer to the question, "Does Vital operate the Instagram account @bangenergy.ceo"

Mrs. Owoc did answer yes, because Mr. Owoc is the sole shareholder of Vital Pharmaceuticals,

Inc., and was at that time Mr. Owoc its Chief Executive Officer and Chief Science Officer. See

id. at p. 22, ll. 17–19. However, nothing in the deposition excerpt suggests that the Debtors opened

or owned the account.

                                         CONCLUSION

       In this summary judgment context, the burden lies with the Debtors to demonstrate that

there is no genuine issue of material fact (or any interpretation of a material fact), and they are

entitled to judgment as a matter of law. As the Owocs have demonstrated, however, determining

the ownership of the Accounts will require the Court to apply heavily contested facts, and

interpretations of those facts, in a developing area of the law. That dynamic is fatal to the Motion,

particularly given: (a) a rushed litigation process, with a one-month old complaint, multiple

emergency hearings scheduled at the request of the Debtors, and the Owocs having had no

opportunity to obtain discovery, and (b) the inadmissible, mischaracterized, and insufficient

evidence proffered by the Debtors.

       The Court should deny the Motion.



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       "M. Owoc Dep. Tr." refers to the deposition excerpt of Mrs. Owoc filed at ECF No. 21-4.

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       WHEREFORE, the Owocs respectfully request that the Court: (1) deny the Motion, (2) in

the alternative, defer consideration of the Motion until such time as the Owocs have taken adequate

discovery; and (3) grant such other relief as the Court deems appropriate.

                               ATTORNEY CERTIFICATION

       I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

for the Southern District of Florida and I am in compliance with the additional qualifications to

practice in this Court set forth in Local Rule 2090-1(A).

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served by Notice

of Electronic Filing via CM/ECF to those parties registered to receive such notice in this case on

April 16, 2023.

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